Fishbeck Awning Company, Limited, Petitioner, v. Commissioner of Internal Revenue, RespondentFishbeck Awning Co. v. CommissionerDocket No. 26701United States Tax Court19 T.C. 773; 1953 U.S. Tax Ct. LEXIS 246; January 28, 1953, Promulgated *246 Decision will be entered under Rule 50.  Petitioner held entitled to relief under section 722 (b) (4) by reason of changes in its business made during the base period years.  Constructive average base period net earnings determined on the evidence.  Simon Inselbuch, Esq., for the petitioner.R. E. Maiden, Jr., Esq., and R. B. Sullivan, Esq., for the respondent.  LeMire, Judge.  LeMIRE *247 *773   The Commissioner of Internal Revenue, in his deficiency notice, determined deficiencies in petitioner's income and excess profits taxes *774  for the taxable years ended December 31, 1944, and 1945, in the following amounts:YearIncome taxExcess profits tax1944$ 1,357.10$ 8,597.9719451,357.105,075.77In the same notice he made a partial disallowance of petitioner's claims for refund under section 722, Internal Revenue Code, for the years 1942 to 1945, inclusive. Certain issues relating to the income and excess profits taxes have been settled by the pleadings and stipulation, leaving only the 722 relief issue for determination.FINDINGS OF FACT.The following facts are substantially those found by the hearing Commissioner which for the most part were stipulated with the addition of certain other dispositive findings:1. The petitioner is a corporation organized under the laws of the State of California on July 1, 1931 (after operating for more than 30 years as a single proprietorship), having its office and principal place of business at 111 W. Colorado Street, Pasadena 1, California.2. Petitioner is entitled to use the excess profits credit*248  based on income pursuant to section 713 of the Internal Revenue Code, as amended.3. Petitioner timely filed with the respondent applications for relief under section 722 on Form 991 for the calendar years 1942 to 1945, inclusive, and for carry-over of unused excess profits credits under section 710 and 722 from the years 1940, 1941, and 1942 to the years 1942, 1943, and 1944, respectively.  In these applications petitioner claimed a "constructive average base period net income" under section 722 (b) (1) and (b) ( 4), Internal Revenue Code, for each of the years of $ 39,584.71.  14. The respondent has allowed in part and disallowed in part petitioner's claims for relief under the foregoing paragraphs of section 722 and pursuant to section 732, Internal Revenue Code.  Respondent has determined the constructive average base period income to be $ 13,551 for each *249  of the years 1942 to 1945, inclusive; $ 11,261 for the year 1940; and $ 13,551 for the year 1941 for the purpose of carry-over of unused credit to the year 1942.5. The petitioner and the respondent executed waiver agreements pursuant to section 276 (b), Internal Revenue Code, for the years, upon the dates, and fixing the time for assessment, as follows:YearDate of executionDate of expiration1943February 18, 1947June 30, 19481944January 27, 1948June 30, 19491945January 3, 1949June 30, 1950*775  6. The Petitioner made payments of excess profits taxes and filed claims for refund thereof pursuant to sections 722 and 322, Internal Revenue Code, as follow:YearDate of paymentDate claimfiled1942Mar.  15, 1943$ 2,786.27Mar. 15, 1943June 15, 19432,786.26Mar.  5, 1945Sept. 15, 19432,786.26Dec.  15, 19432,786.27Total11,145.061943Mar.  15, 194413,500.00Mar. 19, 1946June 15, 194412,850.45Feb. 21, 1947Sept. 14, 194412,671.48July 26, 1949Dec.  15, 194411,342.07Dec.  12, 19471 813.60Jan.  12, 19481,285.87Sept. 30, 19486,036.52Total2 58,499.991944Mar.  13, 19457,853.60Mar. 13, 1945June 15, 19457,853.60June 20, 1949Sept. 11, 19456,277.88Oct.  29, 19453 3,151.44Dec.  14, 19456,377.90Oct.  7, 19482,797.49Total34,311.911945Mar.  15, 19466,107.68Mar. 19, 1946June 17, 19466,107.68June 20, 1949Sept. 16, 19466,107.68Dec.  13, 19466,107.58Total$ 24,430.62*250 7. As of January 1, 1935, the petitioner's business was entirely in the retail field and included goods manufactured by petitioner and others.  At that time the petitioner was manufacturing awnings, truck covers, and other canvas products as well as upholstering and making couch swings.  The retailing of others' products consisted of garden and beach umbrellas, metal umbrella tables, venetian blinds, and metal and wood summer outdoor furniture (started in 1934).  Early in 1935 the petitioner added window shades and garden furniture to its retailing line.  Its accounting records to this point broke down sales into two sections -- one division for awnings and the balance was called "other sales." In October 1935 the petitioner added a line of linoleum to its retailing business and has always kept the sales in that department as a separate unit.  During 1936 the petitioner added the rental of*251  equipment for parties and camping, and installed a paint shop at 51 Dayton Street (new addition) for the painting of customers' garden furniture and the refinishing of venetian blinds. In November 1937 there was added the manufacture of cushions for the trade (other merchants).  Cushions had previously been made to retail customers' *776  orders only.  The retailing line was again added to late in 1938 (September or October) by the inclusion of summer and garden outdoor furniture and in the spring of 1939 by the further addition of indoor summer type furniture. The petitioner threw all this additional business in its classification "other sales," excepting the awning and linoleum lines.8. During 1938 petitioner became interested in the manufacture and sale of rattan products and found a company, namely, the Rattan Products Company, which had ceased its business functions.  In August of 1938 the petitioner acquired all of the assets of the aforementioned Rattan Company which had previously imported rattan furniture frames from the Philippines, cushioned and sold same.  No good will or customers were acquired.  The petitioner upon acquisition of these inventories also temporarily*252  took over the warehouse occupied by the former Rattan Products Company and proceeded to finish and sell some of the inventory so acquired.  During 1939 petitioner developed additional types of rattan furniture and refined certain types for sale as indoor furniture. It also added to its operation the manufacture of wooden outdoor furniture, using principally Douglas fir.  This furniture manufacturing division was called Tropical Sun Company.9. During and immediately prior to the base period the petitioner occupied premises, all located in Pasadena, California, at the times and with the areas and purposes as follows:DateAddressSquare feetJan. 1, 1935117 W. Colorado Street1,2501935111 W. Colorado Street5,500Plus balcony1,2501936117 W. Colorado Street1,250193651 Dayton Street7,2001938109 W. Colorado Street2,5001939150 S. Raymond Street25,000DateAddressPurposeJan. 1, 1935117 W. Colorado StreetRetailing.  Vacated in 1935.1935111 W. Colorado StreetRetailing.Plus balconyRetailing.1936117 W. Colorado StreetRetailing (re-occupied).193651 Dayton StreetPainting, renovation and storage.1938109 W. Colorado StreetRetailing.1939150 S. Raymond StreetFurniture manufacturing and canvassewing.*253  10. During 1938 and later years the taxpayer rented space in the Los Angeles and San Francisco furniture marts for the purpose of promoting sales of rattan furniture.11. During the base period the taxpayer made the following additions to shop equipment and delivery equipment, respectively:ShopDeliveryYearequipmentequipment1936$ 82.64$ 3,317.901937330.431,728.101938241.96971.331939424.772,937.8112. During the early part of 1939 most of the petitioner's rattan furniture was manufactured for it by an outside contractor.  During the latter part of 1939 this contracting practice was continued for a *777  portion of such furniture and a portion thereof was manufactured at 150 S. Raymond Street, and assembled at 51 Dayton Street.13. A fire occurred on petitioner's premises, known as 51 Dayton Street, Pasadena, California, on or about April 9, 1939.  Such premises had been used for storing petitioner's and customers' goods as well as a paint shop for refinishing garden furniture and renovating venetian blinds, and as a garage for petitioner's delivery equipment.  The direct monetary loss from this fire is shown by the petitioner's records for *254  1939 as follows:Loss of, and repairs to, delivery trucks$ 1,367.13Steam cleaning and painting87.10Destruction of petitioner's merchandise9,137.24Settlement to customers, damage to their goods in storage orbeing renovated5,685.13Total16,276.60Insurance received on trucks1,328.83Insurance received on merchandise and supplies13,000.00Salvage sales486.18Total recovery14,815.01Net direct monetary loss from fire1,461.5914. The actual sales of the petitioner, broken down departmentally, during the base period years, were as follows:TropicalTotalLinoleumAwningsOtherSubtotalSunall sales1936Jan$ 686.56$ 1,191.46$ 2,633.20$ 4,511.22$ 4,511.22Feb795.671,331.802,455.244,582.714,582.71Mar2,744.341,871.753,209.897,825.987,825.98Apr2,625.483,687.154,489.4610,802.0910,802.09May3,141.954,083.454,640.2711,865.6711,865.67June2,086.744,207.595,164.1411,458.4711,458.47July2,218.022,960.524,170.449,348.989,348.98Aug2,211.962,198.865,142.259,553.079,553.07Sept4,258.122,814.593,557.9910,630.7010,630.70Oct3,248.422,453.405,552.6811,254.5011,254.50Nov2,674.822,689.214,086,149,450.179,450.17Dec5,409.143,411.046,399.0815,219.2615,219.26Total32,101.2232,900.8251,500.78116,502.82116,502.821937Jan2,158.621,475.754,276.977,911.347,911.34Feb3,078.321,484.642,743.987,306.947,306.94Mar3,301.003,803.383,766.2110,870.5910,870.59Apr3,364.384,372.215,452.2413,188.8313,188.83May3,051.064,476.6511,236.1118,763.8218,763.82June4,840.426,439.597,862.5619,142.5719,142.57July3,308.333,291.646,770.1013,370.0713,370.07Aug6,447.394,149.475,967.5816,564.4416,564.44Sept5,710.923,445.485,206.6614,363.0614,363.06Oct5,241.834,878.994,699.2214,820.0414,820.04Nov4,748.773,386.705,085.7213,221.1913,221.19Dec4,787.202,608.035,311.9112,707.1412,707.14Total50,038.2443,812.5368,379.26162,230.03162,230.031938Jan3,527.711,857.095,028.5010,413.3010,413.30Feb3,198.872,995.703,177.759,372.329,372.32Mar1,999.173,308.195,505.4710,812.8310,812.83Apr3,175.254,475.577,010.3014,661.1214,661.12May3,730.326,735.357,496.3717,962.0417,962.04June3,917.404,856.788,873.3017,647.4817,647.48July4,366.543,229.597,714.7715,310.9015,310.90Aug5,558.402,725.936,683.1814,967.51$ 5,474.8820,442.39Sept5,332.631,961.425,982.6213,276.672,467.6915,744.36Oct5,516.296,072.014,663.7116,252.011,976.4318,228.44Nov4,624.181,528.806,418.6412,571.623,114.1315,685.75Dec3,699.892,651.236,712.6213,063.745,596.7218,660.46Total48,646.6542,397.6675,267.23166,311.5418,629.85184,941.391939Jan3,753.151,724.265,032.7410,510.152,203.1512,713.30Feb2,615.632,046.683,172.557,834.869,272.8217,107.68Mar3,462.445,625.145,861.0114,948.597,721.0722,669.66Apr2,566.965,790.987,417.9215,775.868,439.8624,215.72May2,881.793,018.579,733.7815,634.148,094.6623,728.80June3,002.013,672.1810,080.6716,754.867,433.9024,188.76July3,818.602,684.537,115.0013,618.136,936.4120,554.54Aug3,307.021,739.845,981.4111,028.277,077.5618,105.83Sept4,917.351,816.176,630.0013,363.528,772.8022,136.32Oct4,032.394,291.195,214.5713,538.156,700.9920,239.14Nov2,377.531,644.975,087.059,109.556,242.0815,351.63Dec4,374.252,057.706,972.2413,404.193,454.8816,859.07Total41,109.1236,112.2178,298.94155,520.2782,350.18237,870.45*255 Summary total sales exclusive of Tropical Sun DepartmentLess returnTotal netTotalsalessales1936$ 116,502.82$ 1,550.52$ 114,952.301937162,230.031,459.51160,770.521938166,311.542,089.27164,222.271939155,520.271,673.62153,846.65*778  15. The actual cost of goods sold, materials, and labor, of the petitioner for the base period years, follows:193819391936 11937 1Depts. otherDepts. otherthan Trop.Trop. Sunthan Trop.Trop. SunSun Furn.Furn. Mfg.Sun Furn.Furn. Mfg.Mfg.Mfg.$ 81,038$ 118,321$ 122,364$ 12,895$ 112,463$ 56,018Totals for 1938 and 1939135,259168,48116. The actual totals, operating, selling, and administrative expenses of the petitioner and its actual excess profits net income for the base period follow:19361937Operating, selling and administrative expenses$ 31,915$ 40,559Excess profits net income1,9701,89119381939Operating, selling and administrative expenses$ 43,964$ 58,746Excess profits net income3,6298,970*256 *779   17. The details of the actual operating, selling, and administrative expenses are:1936193719381939Officers' salaries and bonuses$ 13,265$ 16,000$ 16,598$ 18,862Salaries and wages1,6932,8602,74710,717Sales commissions5,5826,2615,5626,340Rent9001,3002,1563,671Bad debts2,5041,5291581,022Interest paid272225217763Taxes5451,7712,9273,985Depreciation1,1021,6531,7812,215Delivery expense9011,5141,6381,647Car expense6947562,2091,249Repairs and equipment upkeep144329648715Dues, subscriptions, contributions248219255225Light and power194200271343Discounts allowed222Miscellaneous4283283191Advertising1,0251,7391,6221,860Licenses79104111167Insurance7471,8741,3681,822Office and store supplies4785011,316690Telephone and telegraph4885417371,302Storage1,0509001,138960Total31,91540,55943,96458,74618. The total operating, selling, and administrative expenses of petitioner for 1938 and 1939, as shown in paragraphs 16 and 17, were allocated in petitioner's books to Tropical *257  Sun and the other departments as follows:1938ExpensesStipulatedFishbeckTropicalOfficers' salaries and bonuses$ 16,598$ 16,598.25Salaries and wages2,747$ 2,445.97Indirect labor188.32Bonuses -- others97.7515.00Commissions5,5625,114.62446.87Rent2,1561,500.00655.64Bad debts158157.80Interest paid217217.13Taxes2,9272,786.31140.31Depreciation1,7811,732.0249.02Delivery expense and freightout1,6381,460.82156.3021.30Car and salesmen's expense2,2091,202.281,007.02Repairs and equipment upkeep648615.9730.921.50Dues, subscriptions and contributions255215.4940.00Light and power271258.5812.44Discounts allowed222222.21Miscellaneous283.5073.8477.86130.62Advertising1,6221,561.6859.83Licenses111110.001.00Insurance1,3681,305.4662.64Office and store supplies1,316508.81330.34150.8923.24303.29Telephone and telegraph737562.01174.58Storage1,1381,138.00Total43,96437,732.676,231.761939ExpensesStipulatedFishbeckTropicalOfficers' salaries and bonuses$ 18,862$ 18,862.00&nbsp;Salaries and wages10,717$ 10,269.65&nbsp;Indirect labor206.80&nbsp;Bonuses -- others211.65&nbsp;28.50&nbsp;Commissions6,3404,721.73&nbsp;1,618.02&nbsp;Rent3,6711,995.00&nbsp;1,676.00&nbsp;Bad debts1,022414.27&nbsp;607.45&nbsp;Interest paid763760.00&nbsp;2.57&nbsp;Taxes3,9853,491.54&nbsp;493.47&nbsp;Depreciation2,2152,080.12&nbsp;134.84&nbsp;Delivery expense and freightout1,6471,424.48&nbsp;162.86&nbsp;60.08&nbsp;Car and salesmen's expense1,249999.70&nbsp;249.80&nbsp;Repairs and equipment upkeep715680.82&nbsp;15.75&nbsp;18.51&nbsp;Dues, subscriptions and contributions225184.75&nbsp;40.00&nbsp;Light and power343312.50&nbsp;30.54&nbsp;Discounts allowedMiscellaneous191266.28&nbsp;(75.15)Advertising1,8601,190.29&nbsp;669.70&nbsp;Licenses16799.37&nbsp;67.50&nbsp;Insurance1,8221,589.35&nbsp;232.43&nbsp;Office and store supplies690459.75&nbsp;678.24&nbsp;1.03&nbsp;114.49&nbsp;(562.98)Telephone and telegraph1,302606.27&nbsp;695.59&nbsp;Storage960960.00&nbsp;Total58,74641,013.23&nbsp;17,732.33&nbsp;*258 *780   19. In addition to the property losses referred to in paragraph 13 above, the fire at petitioner's plant in April 1939 adversely affected its business and resulted in the loss of some of its customers. It also caused a temporary increase in petitioner's expenses.20. Petitioner obtained the rattan which is used in the manufacture of furniture from the Philippine Islands.  In 1939 it experienced some difficulty in getting shipments of rattan delivered due to the wartime demands on shipping facilities and general business conditions in the Philippines.21. The respondent computed petitioner's constructive average base period net income after adjusting actual sales, as shown in paragraph 14 above, with the California furniture index as follows:Computation of constructive average base period net income for the taxable years ended Dec. 31, 1941, 1942, 1943, 1944, and 1945Base period years1936193719381939Index91.88110.6196.70&nbsp;100.81Sales, actual:Linoleum division$ 32,101$ 50,038$ 48,647&nbsp;$ 41,109Awning division32,90143,81342,398&nbsp;36,112Other sales49,95066,92073,178&nbsp;2 76,625Tropical Sun division18,630&nbsp;82,350Totals114,952160,771182,853&nbsp;236,196Sales, constructive:Linoleum division3 41,5651 50,0383 43,745&nbsp;3 45,605Awning division3 36,3921 43,8123 38,301&nbsp;3 39,929Other sales3 63,6502 76,6253 66,989&nbsp;3 69,836Tropical Sun division5 127,2615 153,2035 133,938&nbsp;5 139,630Totals4 268,8684 323,6784 282,973&nbsp;4 295,000Normal earnings, constructive:Tropical Sun division:Sales, constructive127,261153,203133,938&nbsp;139,630&nbsp;&nbsp;&nbsp;Net earnings, constructive (8%of sales, constructive)6 10,1816 12,2566 10,715&nbsp;6 11,170Net earnings, actual (loss)(497)7,234Increase, constructiveover actual earnings10,18112,25611,212&nbsp;3,936Fire loss, etc160Actual earnings1,9701,8903,629&nbsp;8,970Normal earnings12,15114,14614,841&nbsp;13,066Constructive average base period net income$ 13,551*259 22. Petitioner's average base period net income is an inadequate standard of normal earnings because petitioner changed the character of its business during the base period, and its earnings had not reached the level at the end of the base period which they would have reached had the changes taken place two years before they did.*781  23. A fair and just amount representing petitioner's normal average base period net earnings is $ 25,000.OPINION.The question in issue here is whether petitioner is entitled under the relief provisions of section 722, particularly subsections (b) (1) and (b) (4), to a greater average base period net*260  income, and consequently a greater excess profits credit, for the years 1942 to 1945, inclusive, than that allowed by the respondent on the applications for relief filed by the petitioner for those years.Petitioner contends that it qualifies for relief under subsection (b) (1) by reason of the fire which occurred in its plant in 1939, and also under subsection (b) (4) by reason of the changes in the character of its business which occurred during the base period. The respondent has accepted petitioner's qualifications under (b) (4) by reason of the expansion of petitioner's retail business and the addition of its wholesale department, Tropical Sun, in the base period years, and has made a partial allowance of petitioner's claims under this subsection which petitioner deems inadequate.  Whether petitioner also qualifies for relief under subsection (b) (1), it is not necessary to decide.The real difference between the parties lies in the reconstruction of petitioner's normal base period income.  The respondent's computation is shown in finding 21, above.Nothing would be gained here by a prolonged discussion of the methods used and the various steps taken by the petitioner in its*261  proposed reconstruction of sales and expenses and of respondent's objections to them.  The proposed computations involved various business indices, mathematical formulae, and the testimony of expert witnesses.  We have undertaken to evaluate the evidence, and the arguments, so as to apply the relief provisions of the statute as accurately and equitably as possible.We are satisfied on the evidence that petitioner is entitled to a somewhat higher average base period net income than allowed by the respondent.  On the other hand, we think that the petitioner has been over optimistic in its reconstruction of base period earnings. For instance, the evidence, in our opinion, fails to support petitioner's contention that the fire which occurred in its plant in April 1939 caused a loss of $ 150,000 in retail sales of that year.Respondent's reconstructive Tropical Sun sales for 1939 of $ 139,630 are, we think, too low.  This department was opened in August 1938.  It was strictly a wholesale business, whereas petitioner's previous experience had all been in the retail field.  Sales for the balance of the year 1938 amounted to $ 18,629.85 and for the entire year 1939 *782  were $ 82,350.18. *262  There was reason to believe that the business would continue to grow.  We do not suggest that prospects as of December 31, 1939, for growth in years after 1939 may be taken into account.  We mean only that if petitioner had had the advantage of two additional years' experience during the base period with its Tropical Sun department, it would have attained a higher level of earnings by the end of 1939.We have concluded and found as a fact that $ 25,000 is a fair and just amount to represent the petitioner's normal average base period net earnings, after determining what the earnings at the end of the base period would have been had the changes taken place two years earlier than they did and after making proper allowance for fire loss and other unusual events shown by the evidence and for the growth of the new lines of business that were added in the latter part of 1938 and early in 1939.Reviewed by the Special Division.Decision will be entered under Rule 50.  Footnotes1. This amount should be $ 45,835.  Error made in computation, as shown by Schedule B of amendment to claim dated February 26, 1945, and filed March 5, 1945.↩1. 10% postwar refund on additional tax for 1943 of $ 8,135.99, assessed in 1947.↩2. This total tax of $ 58,499.99 for 1943 was also reduced in the amount of $ 5,036.40, the postwar refund on the original tax of $ 50,364.↩3. 10% postwar refund on original tax of $ 31,514.42 for 1944.↩1. In 1936 and 1937 the Tropical Sun Furniture Manufacturing had not been started.↩2. Actual sales, 1939.  [The stipulated figure is $ 78,298.94.  See finding 14 above.]↩3. Constructive sales based on application of index to 1937 sales, actual and constructive.↩1. Actual sales.↩5. Constructive sales applicabe to Tropical Sun after normalization of other departments.↩4. Constructive sales from certification of field determination and revenue agent's reports.↩6. Constructive ratio, 8% of sales, is based on actual experience of the Tropical Sun division, as disclosed by additional data submitted in conference.↩